       Case 2:14-cr-00109-TLN Document 11 Filed 05/21/14 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:14-cr-109 TLN
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO JUNE 19, 2014,
12           v.                                     )   AT 9:30 A.M.
                                                    )
13   PANG SHOUA XIONG,                              )   Date: May 20, 2014
     KEO SENG SAECHAO,                              )   Time: 9:30 a.m.
14                                                  )   Judge: Hon. Troy L. Nunley
                                                    )
15                              Defendants.         )
                                                    )
16                                                  )
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18
               The parties stipulate, through respective counsel, that the Court should continue the status
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     conference set for May 22, 2014, at 9:30 a.m., to June 19, 2014, at 9:30 a.m.
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               Defense counsel require the continuance to consult with their clients about discovery, and
21
     to conduct investigation. Defense counsel require further time to meet and consult with each
22
     other. Defense counsel also require further time to meet and confer with their clients regarding
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     plea agreements that the government has proposed, and propose counter offers to the
24
     government.
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               Counsel and the defendants agree that the Court should exclude the time from today
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     through June 19, 2014, when it computes the time within which trial must commence under the
27
     Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
28

      Stipulation to Continue                           -1-                                    2:14-cr-109 TLN
        Case 2:14-cr-00109-TLN Document 11 Filed 05/21/14 Page 2 of 3


1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy

3    trial.

4    DATED: May 20, 2014                            HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Pang Shoua Xiong
8
9    DATED: May 20, 2014
10
                                                    /s/ M.Petrik for_______
11                                                  DUSTIN JOHNSON
                                                    Attorney for Keo Seng Saechao
12
13   DATED: May 20, 2014                            BENJAMIN B. WAGNER
                                                    United States Attorney
14
15                                                  /s/ M.Petrik for_______
                                                    MATTHEW MORRIS
16                                                  Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                    2:14-cr-109 TLN
       Case 2:14-cr-00109-TLN Document 11 Filed 05/21/14 Page 3 of 3


1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for June 19, 2014, at 9:30 a.m. The
9    Court orders the time from the date of the parties stipulation, up to and including June 19, 2014,
10   excluded from computation of time within which the trial of this case must commence under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   Dated: May 20, 2014
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                                                    Troy L. Nunley
17                                                  United States District Judge
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      Stipulation to Continue                          -3-                                    2:14-cr-109 TLN
